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                                                                                                    Transmittal Number: 13471694
Notice of Service of Process                                                                           Date Processed: 02/16/2015


Primary Contact:           Bert Bell Dept 822 Esq.
                           The Goodyear Tire & Rubber Company
                           200 Innovation Way
                           Akron. OH 44316-0001

Entity:                                      The Goodyear Tire & Rubber Company
                                             Entity ID Number 2385176
Entity Served:                               The Goodyear Tire & Rubber Company
Titie of Action:                             Irene Marie Breaux vs. The Goodyear Tire & Rubber Company
Document(s) Type:                            Citation/Petition

Nature of Action:                             Personal Injury
Court/Agency:                                 Plaquemines Parish District Court, Louisiana
Case/Reference No;                           61-964

Jurisdiction Served:                          Louisiana

Date Served on CSC:                          02/16/2015

Answer or Appearance Due:                     15 Days
Originaliy Served On:                        CSC

How Served;                                   Personal Service

Sender Information:                           S. Daniel Meeks
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